Case 9:18-cv-80176-BB Document 758-2 Entered on FLSD Docket 10/31/2021 Page 1 of 1




                                       OBJECTIONS KEY
  A = Authenticity
  BER = Best evidence rule
  BOL = Bolstering
  CHAR = Impermissible character evidence
  CML = Cumulative
  COM = Completeness
  DEM = Improper demonstrative
  F = Foundation (or lack of foundation)
  H = Hearsay
  IB=Improper Bates
  IC = Improper compilation
  ILO = Improper lay opinion
  MIL = Motion in Limine
  NP = Document not produced
  P = Privileged
  R = Relevance
  SPEC = Speculation
  UP = Unduly prejudicial / Rule 403
